                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:12-00177
                                                    )      JUDGE CAMPBELL
BRANDON DEYONTAE PIPER                              )

                                            ORDER

         Pending before the Court is Defendant Brandon Piper’s Motion to Allow Access to Ipod or

Similar Device for Discovery Access and Review (Docket No. 51). The Motion is GRANTED.

         It is so ORDERED.

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                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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